Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 1 of 17

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA
V.

MARSHALL NEEFE and,

CHARLES BRADFORD SMITH,

also known as “Brad Smith,”

Defendants.

CRIMINAL NO.
GRAND JURY ORIGINAL

VIOLATIONS:

18 U.S.C. § 1512(k)

(Conspiracy to Commit Obstruction of an
Official Proceeding)

18 U.S.C. §§ 1512(c)(2), 2

(Obstruction of an Official Proceeding and
Aiding and Abetting)

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. §§ 111(a)(1) and (b), 2
(Assaulting, Resisting, or Impeding
Certain Officers Using a Dangerous
Weapon and Aiding and Abetting)

18 U.S.C. § 1752(a)(1) and (b)(1)(A)
(Entering and Remaining in a Restricted
Building or Grounds with a Deadly or
Dangerous Weapon)

18 U.S.C. § 1752(a)(2) and (b)(1)(A)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon)

18 U.S.C. §§ 1752(a)(3) and (b)(1)(A), 2
(Impeding Ingress and Egress in a
Restricted Building or Grounds and
Aiding and Abetting)

18 U.S.C. §§ 1752(a)(4) and (b)(1)(A), 2
(Engaging in Physical Violence in a
Restricted Building or Grounds with a
Deadly or Dangerous Weapon and Aiding
and Abetting)

40 U.S.C. § 5104(e)(1)(A)(i)

(Carrying a Dangerous Weapon in the
Capitol Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(D)
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 2 of 17

(Disorderly Conduct in a Capitol Building
or Grounds)
40 U.S.C. §§ 5104(e)(2)(E), 2
(impeding Passage Through the Capitol
Grounds or Buildings and Aiding and
Abetting)
40 U.S.C. § 5104(e)(2)(F)
(Act of Physical Violence in the Capitol
Grounds or Buildings)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that, at all times material to this Indictment, on or about the dates
stated below:

Introduction
The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

1. The 2020 United States Presidential Election occurred on November 3, 2020.

De The United States Electoral College (“Electoral College”) is a group required by
the Constitution to form every four years for the sole purpose of electing the president and vice
president, with each state appointing its own electors in a number equal to the size of that state’s
Congressional delegation.

3. On December 14, 2020, the presidential electors of the Electoral College met in the
state capital of each state and in the District of Columbia and formalized the result of the 2020
U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have won
sufficient votes to be elected the next president and vice president of the United States.

4. On January 6, 2021, a Joint Session of the United States House of Representatives

and the United States Senate (the “Joint Session’) convened in the United States Capitol building

(the “Capitol”). The purpose of the Joint Session was to open, count, and resolve any objections

NM
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 3 of 17

to the Electoral College vote of the 2020 U.S. Presidential Election, and to certify the results of
the Electoral College vote (‘Certification of the Electoral College vote”) as set out in the Twelfth
Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.
The Attack at the Capitol on January 6, 2021
5, The Capitol is secured 24 hours a day by United States Capitol police (“Capitol
Police”). The Capitol Police maintain permanent and temporary barriers to restrict access to the

Capitol exterior, and only authorized individuals with appropriate identification are allowed inside

the Capitol building.

6. On January 6, 2021, the exterior plaza of the Capitol was closed to members of the
public.

7. On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the

Capitol building for the Certification of the Electoral College vote. Vice President Michael R.
Pence presided, first in the Joint Session and then in the Senate chamber.

8. A large crowd began to gather outside the Capitol perimeter as the Joint Session
got underway. Crowd members eventually forced their way through, up, and over Capitol Police
barricades onto the Capitol grounds and advanced to the building’s exterior facade. Capitol Police
officers attempted to maintain order and stop the crowd from entering the Capitol building, to
which the doors and windows were locked or otherwise secured. Nonetheless, shortly after 2:00
p-m., crowd members forced entry into the Capitol building by breaking windows, ramming open
doors, and assaulting Capitol Police officers. Other crowd members encouraged and otherwise
assisted the forced entry. The crowd was not lawfully authorized to enter or remain inside the
Capitol building or grounds, and no crowd member submitted to security screenings or weapons

checks by Capitol Police or other security officials.
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 4 of 17

9. Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate
(including Vice President Pence) were evacuated from their respective chambers. The Joint
Session was halted while Capitol Police and other law-enforcement officers worked to restore
order and clear the Capitol building and grounds of the unlawful occupants.

10. Later that night, law enforcement regained control of the Capitol building and
grounds. At approximately 8:00 p.m., the Joint Session reconvened, presided over by Vice
President Pence, who had remained hidden within the Capitol building throughout these events.

Conspirators

11]. MARSHALL NEEFE (“NEEFE”) is a resident of Newville, Pennsylvania.

12. CHARLES BRADFORD SMITH, also known as “Brad Smith” (“SMITH”), is a
resident of Shippensburg, Pennsylvania.

13, As described herein, NEEFE and SMITH conspired to corruptly obstruct,
influence, and impede the Congressional proceeding at the Capitol on January 6, 2021.

COUNT ONE
(18 U.S.C. § 1512(k)—Conspiracy to Obstruct Official Proceeding)

14. The allegations in paragraphs 1 through 13 are realleged and incorporated by
reference as if fully set forth in this paragraph.

15. Between at least November 4, 2020, and January 7, 2021, within the District of
Columbia and elsewhere, the defendants.

MARSHALL NEEFE and
CHARLES BRADFORD SMITH, also known as “Brad Smith”

together and with others, did conspire to corruptly obstruct, influence, and impede an official

proceeding, to wit: the Certification of the Electoral College vote.
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 5 of 17

Acts in Furtherance of the Conspiracy

Neefe and Smith’s Planning Leading up to January 6, 2021

16. From at least November 4, 2020, and continuing up to and including January 6,
2021, NEEFE and SMITH used Facebook to communicate with each other and others to express
dissatisfaction with the results of the 2020 presidential election and share thoughts about how
Donald Trump could remain president following the Certification of the Electoral College vote set
to occur in Washington, D.C., on January 6, 2021.

17. On November 4, 2020, the day after Election Day, NEEFE wrote SMITH, “Im
getting ready to storm D.C. ... Seriously tho if biden wins theres a good chance ill do something
for the better of man.” SMITH remarked, “We all deep down knew this was how the election was
going to go. Now if Trump wins the riots will be 50 times worse.” NEEFE replied, “Hope it burns
either way.” SMITH added, “Me to. This country needs to split up immediately.”” NEEFE replied,
“Why shouldnt we be the ones to kick it off?” On December 9, 2020, in response to another
Facebook user’s message about YouTube’s new terms of service regarding election coverage,
SMITH wrote, “I know. If SCOTUS doesn’t act people are going to die. I hope this starts the
War.”

18. In the weeks leading up to January 6, 2021, NEEFE and SMITH shared their
intentions and plans to travel to Washington on that date with one another and others. For example,

on December 22, 2020, NEEFE and SMITH had the following conversation:

SMITH: The call to action was put out to be in DC on January 6th from the
Don himself. The reason is that’s the day pence counts them up and
if the entire city is full of trump supporters it will stop the for sure
riots from burning down the city at least for awhile.

NEEFE: We goin? ... Cause hot damn son i really wanna crack some
commie skulls.
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 6 of 17

SMITH: Yeah I’m going 100%, This is way more important than the last one
actually. This one’s literally to save the city from chaos while they
do their thing in the capital

19. | SMITH also encouraged others to join him and NEEFE to travel to Washington on
January 6, 2021. SMITH wrote another Facebook user on December 22, 2020, “Hey man if you
wanna go down to DC on the 6th Trump is asking everyone to go. That’s the day Pence counts up
the votes and they need supporters to fill the streets so when they refuse to back down the city
doesn’t burn down right away. It’s the only time hes ever specifically asked for people to show
up. He didn’t say that’s why but it’s obviously why.”

20. On December 22-23, 2020, SMITH messaged other Facebook users to urge them
to come to Washington, D.C., “to fill the streets so when they refuse to back down the city doesn’t
burn down right away,” and told a Facebook friend he could “ride down with Me & Marshall.”
SMITH also told a friend they were buying axe handles and nailing American flags to them, “so
we can wave the flag but also have a giant beating stick just in case.”

21. From December 25-26, 2020, NEEFE and SMITH discussed bringing “batons”
with them to Washington on January 6, 2021. NEEFE sent a photograph of wooden club he had
made to SMITH and others with the caption, “Now introducing The Commie Knocker,” and
commented, “getting prepped for the 6" lol,” and, “Going to D.C. to make sure them little bitches
don’t burn down the city when trump is announced as president.”

22. On December 31, 2020, SMITH continued to message other Facebook users,
encouraging them to go to Washington, D.C., on January 6, 2021. For example, he told one user,
“Take off the 6th man! It’s the Big one!!! Trump is literally calling people to DC in a show of
force. Militias will be there and if there’s enough people they may fucking storm the buildings

and take out the trash right there.”
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 7 of 17

23. In addition, on December 31, 2020, NEEFE and SMITH continued to discuss the
election results and their plans to attend the upcoming rally in Washington, D.C., on January 6,
2021. SMITH messaged NEEFE, “I cant wait for DC! Apparently it’s going to be WAY bigger
lol. If it’s big enough we should all just storm the buildings. .. Seriously. I was talking to my Dad
about how easy that would be with enough people.”

24. On January 3, 2021, SMITH messaged another Facebook user that he had obtained
a KA-BAR military-style knife that he planned to take to Washington, D.C.: “Got a K-BAR knife
today... it’s the Military killin knife... Just needed a good one for DC.” He sent the other user
a photo of the knife that shows the full length of the knife including the handle and fixed blade
with KA-BAR’s signature “KA-BAR CLEAN NY” stamp on the tang.

25, On January 5, 2021, SMITH commented on another Facebook user’s post,

January 6, 2021: Neefe and Smith’s Participation in the Capitol Riot

26. On January 6, 2021, SMITH posted on Facebook that he and NEEFE traveled to
Washington, D.C., together, and referred to NEEFE as his “ride.” Photos and videos taken on
January 6, 2021, and shared on their Facebook pages show both NEEFE and SMITH outside the
Capitol on that date, approaching the Capitol grounds, and on the grounds participating in the riot.
SMITH later shared on Facebook a video that shows SMITH walking toward the Capitol building
with NEEFE, stating, as they both smiled, “They’re rushing the Capitol right now. . . . There’s
people literally rushing it right now. Sic semper tyrannis.” SMITH sent this video to another
Facebook user with the caption “Heres when we first got there and just started rushing it. First few
hundred people to hit it.” The video depicts NEEFE and SMITH together, walking towards the

Capitol, with NEEFE holding the wooden club.
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 8 of 17

27. | Ona-video he recorded as he approached the Capitol, SMITH stated, with NEEFE
walking beside him, “We are literally storming the Capitol. The gate — this whole area is blocked
off to the public. We’re saying, ‘Fuck it!’ Sic semper tyrannis, bitch. Down with tyrants.”

28. In another video SMITH recorded after he and NEEFE entered Capitol grounds,
SMITH stated, “We’re literally here. We stormed the gates of the Capitol. Everybody just kept
rushing.” He then turned the camera on NEEFE, who appeared to be within arm’s length of
SMITH and was still holding the wood club in his right hand, and stated, “What’s up, Marshall?”
NEEFE responded by looking into the camera and nodding affirmatively.

29. On the Capitol grounds, NEEFE participated in hoisting and pushing a large metal
sign frame holding an oversized “TRUMP” sign into a defensive line of Metropolitan Police
Department (“MPD”) officers attempting to prevent rioters from further advancing on the West
Front plaza of the Capitol.

30. | Consistent with SMITH’s statement that he obtained a military-style knife for the
purpose of bringing it to Washington, D.C, on January 6, 2021, the sheath of a knife was visible
on SMITH’s person on the Capitol grounds. In messages SMITH sent on Facebook from January
6-7, 2021, SMITH admitted he had a knife on Capitol grounds. He told one Facebook user, “I
stood back while Marshall went in to take a quick peek/piss. I had my brand new KBAR knife and
a few nugs hell know.” When a Facebook user asked SMITH if he entered the Capitol, SMITH
replied, “Not I’m not retarded...I was the people crawling up the side of the building. I wasn’t
going to jail with my KA BAR.”

31. Inavideo SMITH recorded and later shared, SMITH yelled and encouraged rioters
to keep forcing a door to the Capitol closed to keep law-enforcement officers inside the building

so that they could not respond to the riot that was occurring outside the Capitol.
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 9 of 17

32. NEEFE entered the Capitol building, including the Rotunda, where he disregarded

commands from law-enforcement officers to leave the Rotunda.
Neefe and Smith’s Comments Following their Participation in the Capitol Riot

33. After they left Capitol grounds, SMITH and NEEFE continued to discuss their
actions on January 6, 2021, their success at stopping the electoral vote certification, and the
potential for further violent action.

34. On January 6, 2021, NEEFE posted regarding someone getting shot at the Capitol
and stated, “Then we heard the news on pence .. . Amd lost it . . . So we stormed.” He also

admitted, “Glad I got to be a part. . . . They tried shutting us in and hadnt I said something they

wouldve too.” He further admitted, ““Im bringing a gun next time idec... Its only going to get
more violent ... Today was pussy shit dude... If I had it my way every cop who hurled a baton
or maced on us would be lined up and put down... We made sure they know we fucking OWN
them.”

35. From January 6-7, 2021, SMITH posted, “Got Gassed so many times, shit is spicy
but the Adrenaline high and wanting to ‘Get’ Pelosi and those fucks, it was bearable.” He also
admitted, “Oh yeah. The time will come for some of them. But today’s mission was successful!
Remember how they said today was the final day & that Biden would be certified? Well we
literally chased them out into hiding. No certification lol [. . .]. Pence cucked like we knew he

would but that was an Unbelievable show of force and it did its job.”

(In violation of Title 18, United States Code, Section 1512(k))
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 10 of 17

COUNT TWO
(18 U.S.C. §§ 1512(c)(2), and 2—Obstruction of an Official Proceeding and Aiding and
Abetting)
36. Paragraphs | through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.
37, On or about January 6, 2021, in the District of Columbia, the defendant,
MARSHALL NEEFE
attempted to, and did, corruptly obstruct, influence, and impede an official proceeding, that is, a
proceeding before Congress, specifically, Congress’s certification of the Electoral College vote as
set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

(In violation of Title 18, United States Code, Sections 1512(c)(2) and 2)

COUNT THREE
(18 U.S.C. § 231(a)(3)—Civil Disorder)

38. Paragraphs 1 through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.

39, On or about January 6, 2021, in the District of Columbia, the defendant,

MARSHALL NEEFE

committed and attempted to commit an act to obstruct, impede, and interfere with a law
enforcement officer lawfully engaged in the lawful performance of his/her official duties incident
to and during the commission of a civil disorder, and the civil disorder obstructed, delayed, and
adversely affected the conduct and performance of a federally protected function.

(In violation of Title 18, United States Code, Section 231(a)(3))

10
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 11 of 17

COUNT FOUR
(18 U.S.C. §§ 111(a)(1) and (b), and 2—Assaulting, Resisting, or Impeding Certain Officers
Using a Dangerous Weapon and Aiding and Abetting)

40. Paragraphs 1 through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.

41. On or about January 6, 2021, in the District of Columbia, the defendant,

MARSHALL NEEFE
using a deadly and dangerous weapon, that is, a large metal sign frame, did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
while such officer or employee was engaged in or on account of the performance of official duties,
and where the acts in violation of this section involve physical contact with the victim and the
intent to commit another felony.
(In violation of Title 18, United States Code, Sections 111(a)(1) and (b) and 2)
COUNT FIVE
(18 U.S.C. § 1752(a)(1) and (b)(1)(A)—Entering and Remaining in a Restricted Building or
Grounds with a Deadly or Dangerous Weapon)

42. Paragraphs | through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.

43. On or about January 6, 2021, in the District of Columbia, the defendant,

MARSHALL NEEFE

did knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President and Vice President-elect were temporarily visiting, without lawful authority to do so,

and, during and in relation to the offense, did use and carry a deadly and dangerous weapon, that

11
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 12 of 17

is, a wooden club.
(In violation of Title 18, United States Code, Section 1752(a)(1) and (b)(1)(A))
COUNT SIX
(18 U.S.C. § 1752(a)(1) and (b)(1)(A)—Entering and Remaining in a Restricted Building or
Grounds with a Deadly or Dangerous Weapon)

44, Paragraphs 1 through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.

45, On or about January 6, 2021, in the District of Columbia, the defendant,

CHARLES BRADFORD SMITH, also known as “Brad Smith”

did knowingly enter and remain in restricted grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
and Vice President-elect were temporarily visiting, without lawful authority to do so, and, during

and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, a knife.

(In violation of Title 18, United States Code, Section 1752(a)(1) and (b)(1)(A))

COUNT SEVEN
(18 U.S.C. § 1752(a)(2) and (b)(1)(A)—Disorderly and Disruptive Conduct in a Restricted
Building or Grounds with a Deadly or Dangerous Weapon)

46. Paragraphs | through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.

47. On or about January 6, 2021, in the District of Columbia, the defendant,

MARSHALL NEEFE

did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity

to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted

area within the United States Capitol and its grounds, where the Vice President and Vice President-

12
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 13 of 17

elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions, and, during and in relation to the
offense, did use and carry a deadly and dangerous weapon, that is, a wooden club.

(In violation of Title 18, United States Code, Section 1752(a)(2) and (b)(1)(A))

COUNT EIGHT
(18 U.S.C. § 1752(a)(2) and (b)(1)(A)—Disorderly and Disruptive Conduct in a Restricted
Building or Grounds with a Deadly or Dangerous Weapon)

48. Paragraphs 1 through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.

49, On or about January 6, 2021, in the District of Columbia, the defendant,

CHARLES BRADFORD SMITH, also known as “Brad Smith”

did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, engage in disorderly and disruptive conduct in and within such proximity
to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the
orderly conduct of Government business and official functions, and, during and in relation to the
offense, did use and carry a deadly and dangerous weapon, that is, a knife.

(In violation of Title 18, United States Code, Section 1752(a)(2) and (b)(1)(A))

COUNT NINE
(18 U.S.C. §§ 1752(a)(3), (b)(1)(A), and 2—Impeding Ingress and Egress in a Restricted
Building or Grounds with a Deadly or Dangerous Weapon and Aiding and Abetting)
50. Paragraphs | through 13 and paragraphs 16 through 35 of this Indictment are

realleged and incorporated as though set forth herein.

SI. On or about January 6, 2021, in the District of Columbia, the defendant,

13
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 14 of 17

CHARLES BRADFORD SMITH, also known as “Brad Smith”

did knowingly, and with intent to impede and disrupt the orderly conduct of Government business
and official functions, obstructed and impeded ingress and egress to and from a restricted building
and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United
States Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting and, during and in relation to the offense, did use and carry a deadly and dangerous
weapon, that is, a knife.

(In violation of Title 18, United States Code, Sections 1752(a)(3), (b)(1)(A) and 2)

COUNT TEN
(18 U.S.C. §§ 1752(a)(4) and (b)(1)(A), and 2—Engaging in Physical Violence in a
Restricted Building or Grounds with a Deadly or Dangerous Weapon and Aiding and
Abetting)
52. Paragraphs 1 through 13 and paragraphs 16 through 35 of this Indictment are

realleged and incorporated as though set forth herein.

53. On or about January 6, 2021, in the District of Columbia, the defendant,

~ MARSHALL NEEFE
did knowingly, engage in any act of physical violence against any person and property in a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President and Vice President-
elect were temporarily visiting, and, during and in relation to the offense, did use and carry a deadly

and dangerous weapon, that is, a large metal sign frame.

(Un violation of Title 18, United States Code, Sections 1752(a)(4) and (b)(1)(A) and 2)

14
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 15 of 17

COUNT ELEVEN
(40 U.S.C. § 5104(e)(1)(A)G@)—Unlawful Possession of a Dangerous Weapon on Capitol
Grounds or Buildings)

34. Paragraphs | through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.

55. On or about January 6, 2021, in the District of Columbia, the defendant,

CHARLES BRADFORD SMITH, also known as “Brad Smith”

did carry and have readily accessible, a dangerous weapon, that is, a knife having a blade over
three inches in length, on the United States Capitol Grounds.

(In violation of Title 40, United States Code, Section 5104(e)(1)(A)(i))

COUNT TWELVE
(40 U.S.C. § 5104(e)(2)(D)—Disorderly Conduct in a Capitol Building or Grounds)

56. Paragraphs | through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.
57. On or about January 6, 2021, in the District of Columbia, the defendants,

MARSHALL NEEFE and
CHARLES BRADFORD SMITH, also known as “Brad Smith”

willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

(In violation of Title 40, United States Code, Section 5104(e)(2)(D))

15
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 16 of 17

COUNT THIRTEEN
(40 U.S.C. §§ 5104(e)(2)(E), and 2—Impeding Passage Through the Capitol Grounds or
Buildings and Aiding and Abetting)

58. Paragraphs | through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.

59. On or about January 6, 2021, in the District of Columbia, the defendant,

CHARLES BRADFORD SMITH, also known as “Brad Smith”

willfully and knowingly obstructed, and impeded passage through and within, the United States
Capitol Grounds and any of the Capitol Buildings, and did aid and abet others known and unknown
to do the same.

(In violation of Title 40, United States Code, Sections 5104(e)(2)(E), and 2)

COUNT FOURTEEN
(40 U.S.C. § 5104(e)(2)(F)—Act of Physical Violence in the Capitol Grounds or Buildings)

60. Paragraphs | through 13 and paragraphs 16 through 35 of this Indictment are
realleged and incorporated as though set forth herein.
61. On or about January 6, 2021, in the District of Columbia, the defendant,
MARSHALL NEEFE
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capito! Buildings.
(In violation of Title 40, United States Code, Section 5104(e)(2)(F))

COUNT FIFTEEN
(40 U.S.C. § 5104(e)(2)(G)—Parading, Demonstrating, or Picketing in a Capitol Building)

62. Paragraphs 1 through 13 and paragraphs 16 through 35 of the Indictment are
realleged and incorporated as though set forth herein.

63. On or about January 6, 2021, in the District of Columbia, the defendant,

16
Case 1:21-cr-00567-RCL Document1 Filed 09/08/21 Page 17 of 17

MARSHALL NEEFE

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(In violation of Title 40, United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

hang Dihilpsfewde

Attorney of the United States in
and for the District of Columbia.

17
